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10
                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
12
     TRADER JOE’S COMPANY, a California             Case No. 3:23-cv-01148-CRB
13   corporation,
                                                    NOTICE OF EX PARTE MOTION FOR
14                        Plaintiff,                PERMISSION TO EFFECT SERVICE OF
                                                    PROCESS BY ALTERNATIVE MEANS
15          v.                                      AND EXTENSION OF TIME TO SERVE
                                                    DEFENDANT DESERTCART TRADING
16   DESERTCART TRADING FZE, a United               FZE, AND MEMORANDUM OF POINTS
     Arab Emirates company, PIFFERT INC., a         AND AUTHORITIES
17   Delaware corporation, and DOES 1-5,
                                                    Date:    June 16, 2023
18                        Defendants.               Time:    10:00 a.m.
19                                                  Judge:   Hon. Charles R. Breyer

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                                                                     EX PARTE MOT. FOR SERVICE
                                                                        BY ALTERNATIVE MEANS
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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that pursuant to Civ. L.R. 7-2 and/or Civ. L.R. 7-10, Plaintiff
 3   Trader Joe’s Company (“Trader Joe’s”) hereby moves ex parte for permission to serve the
 4   summons and Complaint on Defendant DesertCart Trading FZE (“DesertCart”) by alternative
 5   means as authorized by Fed. R. Civ. P. 4(f)(3). The matter is being presented before United Stated
 6   Senior District Judge Charles R. Breyer in Courtroom 6, located at 450 Golden Gate Avenue,
 7   17th Floor, San Francisco, California 94102. Trader Joe’s is available for a hearing if the Court
 8   would like to hear oral argument on this motion.
 9          Trader Joe’s requests permission to effect service on DesertCart by email to
10   support@desertcart.com and legal@desertcart.com, which are DesertCart’s known corporate and
11   legal email addresses, respectively. This motion is based upon this Notice of Motion and Motion,
12   the attached Memorandum of Points and Authorities, the Declarations of David R. Eberhart and
13   Scott W. Pink and the Exhibits attached thereto, the Court’s files in this action, the arguments of
14   counsel, and any other matter the Court may properly consider.
15
     Dated: June 7, 2023                                O’MELVENY & MYERS LLP
16

17
                                                        By: /s/ David R. Eberhart
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25                                                           Trader Joe’s Company
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 1
     I.       INTRODUCTION
 2
              Trader Joe’s respectfully seeks an order permitting alternative service of the summons and
 3
     Complaint on Defendant DesertCart by email, because (1) Trader Joe’s has exhausted substantial
 4
     resources investigating and attempting service by conventional means on DesertCart and its CEO,
 5
     Rahul Swaminathan, without success; (2) Trader Joe’s and DesertCart have already
 6
     communicated by email, rendering email the most reasonably calculated means to provide notice
 7
     of the suit to DesertCart; and (3) email service is not prohibited by any relevant international
 8
     agreement because the United Arab Emirates (the “UAE”) is not a party to The Hague Service
 9
     Convention or any other treaty related to service of process.
10
              Trader Joe’s has served Defendant Piffert Inc. (“Piffert”), but Trader Joe’s inability to
11
     effect service on DesertCart, despite its diligent efforts to ascertain the whereabouts of Mr.
12
     Swaminathan, is materially impeding the progress of this litigation and causing ongoing harm to
13
     Trader Joe’s. Thus, pursuant to Fed. R. Civ. P. 4(f)(3), Trader Joe’s respectfully requests
14
     authorization from the Court to serve the summons and complaint on DesertCart by email to
15
     support@desertcart.com and legal@desertcart.com, which are DesertCart’s known corporate and
16
     legal email addresses, respectively. The facts of this case warrant an exercise of such authority.
17
     II.      STATEMENT OF FACTS
18
              A.     Defendant DesertCart and Mr. Swaminathan
19
              DesertCart operates several websites, including <https://www.desertcart.us/>;
20
     <https://www.ar-aedesertcart.com/>; <https://www.desertcart.co/> ; and
21
     <https://www.desertcart.sc/> (the “Websites”). Declaration of David R. Eberhart (“Eberhart
22
     Decl.”) ¶ 3. On the Websites, DesertCart offers hundreds of Trader Joe’s products for sale and
23
     delivery. Eberhart Decl. ¶ 4, Exhibit (“Ex.”) A. The Trader Joe’s products offered for sale on the
24
     Websites are promoted using Trader Joe’s trademarks without Trader Joe’s authorization to do so.
25
     Eberhart Decl. ¶ 5. Trader Joe’s does not authorize any third parties to sell or deliver its products
26
     online. Eberhart Decl. ¶ 5.
27

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 1          DesertCart is an entity based in the UAE. Dkt. 1 ¶ 10. DesertCart does not identify a
 2   physical contact address on the Websites; instead DesertCart directs users to contact DesertCart
 3   by email at support@desertcart.com, phone, and live chat. Eberhart Decl. ¶ 6, Ex. B. Its CEO is
 4   Rahul Swaminathan. Dkt. 1 ¶ 11. The web domain for its primary website,
 5   <https://www.desertcart.us/>, is registered to Rahul Swaminathan. Eberhart Decl. ¶ 7, Ex. C.
 6          On July 18, 2022, and August 22, 2022, Trader Joe’s sent letters to DesertCart by email to
 7   support@desertcart.com demanding it cease and desist its infringement of Trader Joe’s
 8   trademarks. Dkt. 1, ¶¶ 39-41; Eberhart Decl. ¶ 8. DesertCart never responded to these letters.
 9   Eberhart Decl. ¶ 8.
10          On December 17, 2022, Trader Joe’s sent another cease and desist letter to DesertCart by
11   email to support@desertcart.com. Eberhart Decl. ¶ 9, Ex. D at pp. 3-4; Ex. E. This letter informed
12   DesertCart that Trader Joe’s intended to sue DesertCart in this Court and enclosed a draft copy of
13   the Complaint. Eberhart Decl. ¶ 9, Ex. E.
14          On December 20, 2022, DesertCart responded from support@desertcart.com,
15   acknowledging Trader Joe’s claims of trademark infringement and its receipt of Trader Joe’s
16   letter enclosing the Complaint, and stating: “We'd like to help you further, please send an email to
17   our legal department for any legitimate legal claims to our legal department [sic] at
18   legal@desertcart.com.” Eberhart Decl. ¶ 10, Ex. Ex. D at pp. 2-3.
19          Later on December 20, 2022, Trader Joe’s sent the demand letter enclosing the Complaint
20   to DesertCart at legal@desertcart.com per DesertCart’s instructions. Eberhart Decl. ¶ 11, Ex. D at
21   pp. 11-2. DesertCart never responded to this email. Eberhart Decl. ¶ 11.
22          On January 19, 2023, Trader Joe’s again sent the demand letter enclosing the Complaint
23   to DesertCart at legal@desertcart.com. Eberhart Decl. ¶ 12, Ex. D at p. 1. DesertCart never
24   responded to this email. Eberhart Decl. ¶ 12.
25          None of the emails Trader Joe’s sent to support@desertcart.com and
26   legal@desertcart.com resulted in a bounce-back message or other indication that the emails had
27   not been delivered. Eberhart Decl. ¶ 13.
28
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 1           B.      Defendant Piffert and Mr. Swaminathan
 2           Piffert operates DesertCart’s United States distribution facilities in Delaware and New
 3   Hampshire. Dkt. 1 ¶ 11. Piffert was incorporated in Delaware in 2014, the same year DesertCart
 4   was founded. Eberhart Decl. ¶ 14, Ex. F. Piffert’s registered office address is at 63 Pleasant
 5   Street, Concord, NH 03302. Eberhart Decl., Ex. F. Piffert’s registered business purpose is
 6   “packaging and shipping.” Eberhart Decl., Ex. F.
 7           Along with serving as CEO of DesertCart, Mr. Swaminathan is also president and director
 8   of Piffert. Eberhart Decl., Ex. F. Piffert’s “notification email” is identified as
 9   rahul@swaminathan.com, and its “business email” is identified as rahul@piffert.com. Eberhart
10   Decl., Ex. F.
11           On March 17, 2023, Trader Joe’s served the summons and Complaint on Piffert at 63
12   Pleasant Street, Concord, NH 03302. Dkt. 8.
13           C.      Trader Joe’s Investigation of DesertCart and Mr. Swaminathan and
                     Unsuccessful Service Attempts
14
             Trader Joe’s counsel ascertained a business address for Mr. Swaminathan through its
15
     investigation of Piffert’s corporate filings that identify him as Piffert’s president and director.
16
     Eberhart Decl. ¶ 14, Ex. F. This address is 19 Lukens Drive Suite 300, New Castle, DE 19720.
17
     Eberhart Decl., Ex. F.
18
             On March 17, 2023, Trader Joe’s attempted service on DesertCart by way of its CEO, Mr.
19
     Swaminathan, at this address. Eberhart Decl. ¶ 15. Service on Mr. Swaminathan at this address
20
     was unsuccessful. Eberhart Decl. ¶ 15. According to the business manager located at this address,
21
     Mr. Swaminathan does not live in the state and does not come into the office located at this
22
     address. Eberhart Decl. ¶ 15, Ex. G.
23
             On March 23, 2023, Trader Joe’s counsel ran investigation reports on Mr. Swaminathan
24
     using the investigation services SkopeNow, Accurint, and idiCore. Eberhart Decl. ¶ 16.
25
             According to the SkopeNow report, Mr. Swaminathan’s current address is at Harvey
26
     Mudd College, 301 Platt Blvd, Claremont, CA 91711. Eberhart Decl., Ex. H. On March 24, 2023,
27
     Trader Joe’s attempted service on DesertCart by way of its CEO, Mr. Swaminathan, at this
28
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 1   address. Eberhart Decl. ¶ 17. Service on Mr. Swaminathan at this address was unsuccessful.
 2   Eberhart Decl. ¶ 17. According to Harvey Mudd College’s human resources representative, Mr.
 3   Swaminathan is a current student and lives on campus, but Harvey Mudd College was not
 4   allowed to advise where on campus he lives. Eberhart Decl., Ex. K.
 5          According to the Accurint and idiCore reports, Mr. Swaminathan’s current address is 1
 6   Industrial Park Dr Unit 9, Pelham, NH 03076. Eberhart Decl., Ex. I. This address was also
 7   identified on Piffert’s corporate filings as Piffert’s principal office space. Eberhart Decl., Ex. F.
 8   On March 24, 2023, Trader Joe’s attempted service on DesertCart by way of its CEO, Mr.
 9   Swaminathan, at this address. Eberhart Decl. ¶ 17. Service on Mr. Swaminathan at this address
10   was unsuccessful. Eberhart Decl. ¶ 17. This address is the site of an industrial warehouse.
11   Eberhart Decl., Ex. K. The warehouse office was empty. Eberhart Decl., Ex. K. According to a
12   neighbor of this building, this warehouse office is not used. Eberhart Decl., Ex. K.
13          According to the Accurint report, Mr. Swaminathan’s other current address is at 340 S
14   Lemon Avenue, Apartment #1038, Walnut, CA 91789. Eberhart Decl., Exs. I, J. On March 24,
15   2023, Trader Joe’s attempted service on DesertCart by way of its CEO, Mr. Swaminathan, at this
16   address. Eberhart Decl. ¶ 17. Service on Mr. Swaminathan at this address was unsuccessful.
17   Eberhart Decl. ¶ 17. This address is the site of a virtual mailbox service called Virtual Post Mail.
18   Eberhart Decl., Ex. K. According to Virtual Post Mail’s representative, neither Mr. Swaminathan
19   nor DesertCart has a virtual mailbox account there. Eberhart Decl., Ex. K.
20          On April 18, 2023, Trader Joe’s hired a private investigator to determine Mr.
21   Swaminathan’s current address. Eberhart Decl. ¶ 18.
22          On April 18, 2023, the investigator conducted independent research to determine the
23   likely addresses of DesertCart and its CEO, Mr. Swaminathan. Eberhart Decl. ¶ 19, Ex. L. The
24   investigator’s results matched those identified in the SkopeNow, Accurint, and idiCore searches
25   conducted by Trader Joe’s counsel. Eberhart Decl., Ex. L.
26          On April 21, 2023, the investigator revisited Harvey Mudd College, and made numerous
27   inquiries among residents of the surrounding area regarding Mr. Swaminathan. Eberhart Decl.,
28
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 1   Ex. L. The investigator determined that Mr. Swaminathan is not a current student at Harvey
 2   Mudd College and does not reside in that area. Eberhart Decl., Ex. L.
 3           On April 27, 2023, the investigator the revisited 340 S Lemon Avenue, Walnut, CA
 4   91789, and made numerous inquiries among residents of the surrounding area regarding
 5   DesertCart and Mr. Swaminathan. Eberhart Decl. ¶ 20, Ex. M. The investigator determined that
 6   Mr. Swaminathan does not reside in that area. Eberhart Decl., Ex. M.
 7           Trader Joe’s counsel has requested contact information for DesertCart from Piffert and its
 8   counsel. Declaration of Scott W. Pink (“Pink Decl.”) ¶¶ 3-4. To date, Piffert has refused to
 9   provide any such information. Pink Decl. ¶ 3-4. Trader Joe’s current deadline to effect service of
10   the summons and Complaint on DesertCart by ordinary means is June 12, 2023. Fed. R. Civ. P.
11   4(m).
12   III.    LEGAL STANDARD
13           Federal Rule of Civil Procedure 4(h)(2) permits service of corporations in a foreign
14   country “in any manner prescribed by Rule 4(f) for serving an individual, except personal
15   delivery.” Under Rule 4(f)(3), “[u]nless federal law provides otherwise, an individual . . . may be
16   served at a place not within any judicial district of the United States . . . by other means not
17   prohibited by international agreement, as the court orders.” Trial courts may permit service on
18   international defendants using means such as publication, ordinary mail, mail to the defendant’s
19   last known address, delivery to the defendant’s attorney, and email. See Rio Properties, Inc. v.
20   Rio Int’l Interlink, 284 F.3d 1007, 1016 (9th Cir. 2002) (citing cases). Rule 4(f) requires only that
21   service be directed by the Court and not prohibited by international agreement, and the Rule does
22   not require that other means of service be attempted first. Id. at 1014. Alternative service under
23   Rule 4(f)(3) is thus neither a “last resort” nor “extraordinary relief”; rather, it is “merely one
24   means among several which enables service of process on an international defendant.” Id. at 1015
25   (citation omitted).
26           Federal Rule of Civil Procedure 4(e)(1) provides that “an individual ... may be served in a
27   judicial district of the United States by: following state law for serving a summons in an action
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 1   brought in courts of general jurisdiction in the state where the district court is located or where
 2   service is made.” Fed. R. Civ. P. 4(e)(1). Because this Court is located in California, it may
 3   authorize service of process in conformity with California law. Section 413.30 of the California
 4   Code of Civil Procedure provides that “[w]here no provision is made in this chapter or other law
 5   for the service of summons, the court in which the action is pending may direct that summons be
 6   served in a manner which is reasonably calculated to give actual notice to the party to be served
 7   and that proof of such service be made as prescribed by the court.” Cal. Civ. Code § 413.30.
 8          Under both Federal and California rules, alternative service must comport with
 9   Constitutional due process. Rio Properties, 284 F.3d at 1016. “To meet this requirement, the
10   method of service crafted by the district court must be ‘reasonably calculated, under all the
11   circumstances, to apprise interested parties of the pendency of the action and afford them an
12   opportunity to present their objections.’” Id. at 1016–17 (quoting Mullane v. Cent. Hanover Bank
13   & Trust Co., 339 U.S. 306, 314 (1950)). The Ninth Circuit has approved service on foreign and
14   domestic defendants by email pursuant to Rule 4(f)(3) where the defendants were either
15   unreachable by other means or had no known physical address. Facebook, Inc. v. Banana Ads,
16   LLC, No. C-11-3619 YGR, 2012 WL 1038752, at *1 (N.D. Cal. Mar. 27, 2012) (citing Rio
17   Properties, 284 F.3d at 1016).
18   IV.    ARGUMENT
19          To determine whether the Court should allow alternative service by email, the Court must
20   determine that: (1) service by email is not barred by an international agreement; and (2) service
21   by email is “reasonably calculated to provide actual notice” to the defendant. Facebook, 2012 WL
22   1038752, at *1; Zoho Corp. v. Target Integration, Inc., No. 23-CV-00054-SI, 2023 WL 2837676,
23   at *2 (N.D. Cal. Apr. 7, 2023) (both citing Rio Properties, 284 F.3d at 1014). Because no
24   international agreement bars service of process on DesertCart by email, and because email is the
25   method most likely to apprise DesertCart of this action, authorizing service by email on
26   DesertCart is appropriate here.
27

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 1          A.      No International Agreement Bars Service By Email On DesertCart.
 2          DesertCart is based in the UAE and organized under the laws of the UAE. Dkt. 1, ¶ 10.
 3   The UAE is “not a party to The Hague Service Convention or any other treaty related to service
 4   of process.” Color Switch LLC v. Fortafy Games DMCC, No. 1:18-CV-0419-DAD-JLT, 2018
 5   WL 2298401, at *3 (E.D. Cal. May 21, 2018) (citation omitted); see also Orsi v. Sheik Falah Bin
 6   Zayed Bin Sultan Al-Nahyan, 2012 WL 4469120 at *2 (Dist. Mass. Sept. 25, 2012) (noting “the
 7   United Arab Emirates ... is not a party” to the Hague Convention and the court was “not aware of
 8   any other agreement on service of process between the United States and the UAE”); Nabulsi v.
 9   H.H. Sheikh Issa Bin Zayed Al Nahyan, 2007 WL 2964817 at *4 (S.D. Tex. Oct. 9, 2007)
10   (observing the UAE was not a party to the Hague convention). Thus, Trader Joe’s needs “only to
11   obtain permission from the Court” to serve DesertCart by email. Color Switch, 2018 WL 2298401
12   at *3-*4 (granting motion to serve UAE-based defendant by email); see also Facebook, Inc. v.
13   Trabi, No. 20-CV-07348-SK, 2021 WL 4942678, at *1 (N.D. Cal. May 3, 2021) (same).
14          B.      Service by Email Is “Reasonably Calculated to Provide Actual Notice” to
                    DesertCart.
15
            To comport with due process, alternate service of process must be “reasonably calculated
16
     to apprise interested parties of the pendency of the action and afford them an opportunity to
17
     present their objections.” Rio Props., 284 F.3d at 1016. Courts in this District routinely grant
18
     requests to effect service on foreign defendants by email where, as here, the foreign defendant:
19
     (1) does business on the internet; (2) relies on electronic communications to operate its business;
20
     (3) does not provide a physical address, or provides a physical address that is unsuitable for
21
     service; (4) has already communicated with the plaintiffs by email; and/or (5) evades personal
22
     service or makes personal service difficult. See, e.g., Trabi, 2021 WL 4942678 at *2 (granting
23
     plaintiff’s motion to serve defendants located in the UAE by email); Zoho, 2023 WL 2837676, at
24
     *5 (granting motion to serve foreign and domestic defendants by email); ADT Sec. Servs., Inc. v.
25
     Sec. One Int’l, Inc., No. 11-CV-05149 YGR, 2012 WL 3580670, at *2 (N.D. Cal. Aug. 17, 2012);
26
     Facebook, Inc. v. Sahinturk, No. 20-CV-08153-JSC, 2021 WL 4295309, at *2 (N.D. Cal. Sept.
27
     21, 2021) (authorizing email service); Goes Int’l, AB v. Dodur Ltd., No. 14-CV-5666 LB, 2015
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 1   WL 1743393, at *3 (N.D. Cal. Apr. 16, 2015) (same); craigslist, Inc. v. Troopal Strategies, Inc.,
 2   No. 5:09-cv-04741-JW at 2 (N.D. Cal. Nov. 24, 2010) (“Here, service by email is reasonably
 3   calculated to provide actual notice to [Panamanian corporate defendant] because it regularly
 4   utilizes email in operating its business.”); Bank Julius Baer & Co. Ltd v. Wikileaks, 2008 WL
 5   413737, at *2 (N.D. Cal. Feb. 13, 2008) (authorizing email service); Williams-Sonoma Inc. v.
 6   Friendfinder, Inc., 2007 WL 1140639, at *2 (N.D. Cal. Apr. 17, 2007) (same); GSV Futures LLC
 7   v. Casmain L.P., No. 22-CV-05449-LB, 2022 WL 16856361, at *3 (N.D. Cal. Nov. 10, 2022)
 8   (authorizing email service and collecting additional cases).
 9            Facebook, Inc. v. Banana Ads, LLC, 2012 WL 1038752; Facebook, Inc. v. Trabi, 2021
10   WL 4942678; and Facebook, Inc. v. Sahinturk, 2021 WL 4295309, are instructive. In Banana
11   Ads, Facebook sued foreign and domestic defendants whose online activities violated Facebook’s
12   trademark rights. 2012 WL 1038752 at *1. Facebook attempted to contact a group of these
13   defendants by postal mail, email, and telephone, and Facebook had attempted to serve them at
14   physical addresses that its investigation had indicated to be connected with these defendants. Id.
15   at *1-*2. But none of its attempts was successful, and Facebook moved for alternative service by
16   email. Id. The court held that email service comported with due process because these defendants
17   relied on electronic communications to operate their businesses and maintained valid email
18   addresses, and Facebook had “demonstrated that it has made attempts to serve [them] at physical
19   addresses that proved unsuitable for service.” Id. at *2. For these reasons, and because no
20   international agreement prohibited service by email, the court authorized service by email. Id.
21            Similarly, in Trabi, Facebook sued two residents of the UAE but was unable to determine
22   their addresses for service. 2021 WL 4942678 at *1. On Facebook’s motion for alternative
23   service, the court authorized service by email because Facebook had communicated with them by
24   email before the lawsuit was filed and, although the defendants had stopped responding to
25   Facebook after the suit was filed, “neither of the emails were returned or bounced-back.” Id.
26   Thus, the court held that email was reasonably calculated to provide actual notice to them. Id. at
27   *1-*2.
28
                                                                         EX PARTE MOT. FOR SERVICE
                                                     -10-                   BY ALTERNATIVE MEANS
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 1          Finally, in Sahinturk, Facebook sued an individual residing in Turkey whose websites
 2   infringed Facebook’s trademarks. 2021 WL 4295309 at *1. Facebook had communicated with
 3   this defendant once by email at the email address registered to the infringing websites, but the
 4   defendant later stopped responding to Facebook’s email requests. Id. Then, Facebook’s
 5   investigative team researched business registrations and public records for other businesses
 6   associated with this defendant, but the investigation did not yield a suitable physical address for
 7   service. Id. at *2. Facebook then moved the court to authorize email service, which the court
 8   granted because Facebook had demonstrated that the email used to register the infringing
 9   websites was a real email address that the defendant used, and because Facebook was unable to
10   determine his physical address despite having conducted an investigation. Id. at *2-*3.
11          Here, like Facebook did with the defendants in Banana Ads, Trabi, and Sahinturk, Trader
12   Joe’s has already established communication with DesertCart at a real and valid email address.
13   Furthermore, as in Sahinturk, 2021 WL 4295309 at *1, Trader Joe’s has conducted a thorough
14   investigation for a physical address to effect service on DesertCart through its CEO, Mr.
15   Swaminathan, to no avail. Like Banana Ads, 2012 WL 1038752 at *2, DesertCart is involved in
16   commercial internet activities, relies on electronic communications to operate its business, does
17   not publicly provide a valid physical address, and all of the physical addresses at which Trader
18   Joe’s attempted to serve DesertCart have “proved unsuitable for service.” And, as in Trabi 2021
19   WL 4942678 at *2, although DesertCart stopped responding to Trader Joe’s email requests, the
20   emails sent to DesertCart’s email addresses have not received bounce-back messages or any other
21   indication that Trader Joe’s emails were not successfully delivered. For these reasons, Trader
22   Joe’s has demonstrated that service by email is reasonably calculated to provide actual notice to
23   DesertCart, and the Court should grant this Motion.
24   V.     CONCLUSION
25          Trader Joe’s has been unable to serve DesertCart despite diligent and substantial efforts to
26   ascertain a suitable address. DesertCart’s evasiveness has interfered with the progress of this
27   litigation and imposed substantial costs on Trader Joe’s. Trader Joe’s has already communicated
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                                                                          EX PARTE MOT. FOR SERVICE
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 1   with DesertCart at support@desertcart.com, and was instructed by DesertCart to submit further
 2   legal correspondence to legal@desertcart.com. Thus, email communication to these email
 3   addresses is the means most reasonably calculated to apprise DesertCart of the action and afford it
 4   an opportunity to respond. No international agreement prohibits service on DesertCart by these
 5   means. Courts in this District routinely authorize email service upon defendants in this
 6   circumstance. For the foregoing reasons, Trader Joe’s respectfully requests this Court grant its
 7   motion for service by alternative means and authorize Trader Joe’s to serve the summons and
 8   Complaint on DesertCart by email to support@desertcart.com and legal@desertcart.com.
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     Dated: June 7, 2023                                O’MELVENY & MYERS LLP
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